CaSe: 4:10-cv-01768-CE.] Doc. #: 8 Filed: 09/27/10 Page: 1 of 6 Page|D #: 58

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION

ALLEN R. CALDWELL,

Plaintiff,

Cause No.i 4510'cV'01768'DJS

V.
SAINT LOUIS UNIVERSITY, Personal Injury/l\/.[edical
TENET HEALTH SYSTEM SL, INC., Malpractice
d/b/a SAINT LOUIS UNIVERSITY In Excess of $25,000
HOSPITAL, and
RICHARD BUCHOLZ, M.D., JURY TRIAL DEMANDED

Defendants.

 

PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT RICHARD
BUCHOLZ, M.D.’S MOTION TO DISMISS

COMES NOW plaintiff, by and through his attorneys of recerd, pursuant to
Lccal Rule 7'4.01, and for his Memorandum in Opposition t0 defendant Richard
Bucholz, M.D.’s Moticn to Dismiss, states as fcllows¢

1. Plaintiff filed this medical negligence case in the Circuit Court for the
City of St. Louis, Misscuri on August 11, 2010.

2. In his Petition, plaintiff alleges claims of medical negligence against
defendants Saint Lcuis University, Tenet Health System SL, Inc. dfb/a Saint Louis
University Hcspital, and Richard Bucholz, M.D.

3. Plaintiff"s claims and cause of action arise out of medical care and

treatment that he received, in part, at Saint Louis University Hospital When

CaSe: 4:10-cv-01768-CE.] Doc. #: 8 Filed: 09/27/10 Page: 2 of 6 Page|D #: 59

defendant Richard Bucholz, M.D. performed an unnecessary surgical procedure
upon him, namely a craniotomy and resection of mesial temporal lobe tumor.

4. On September 20, 2010, defendant Richard Bucholz, l\/[.D. filed a notice
of removal to this Court and contemporaneously filed a motion to dismiss for failure
to state a claim upon Which relief can be granted pursuant to Rule 12(1))(6) of the
Federal Rules of Civil Procedure.

5. ln his motion to dismiss, defendant Richard Bucholz, M.D. claims that
he performed diagnostic tests and provided pre'operative treatment to plaintiff at
the John Cochran St. Louis Veterans Administration Medical Center, that he was
at that time an employee of the United States Government through the Department
of Veterans Affairs, and that he is therefore immune from civil prosecution in his
individual capacity pursuant to 28 U.S.C. §2679(b). Defendant Richard Bucholz,
M.D. contends that as such, plaintiff has failed to state a claim upon Which this
Court can grant relief.

6. Plaintiff’s Petition clearly states a claim against defendant Richard
Bucholz, M.D. under the federal pleading standards, and therefore dismissal under
Rule 12(b)(6) is inappropriate

7. “The purpose of a motion to dismiss under Rule 12(b)(6) is to test the
legal sufficiency of the complaint.” Swartzbaug}z V. State Farm IIJS. Compam'es, 924
F.supp. 932, 934 (E.D. MO. 1995).

8. ln order “[tlo survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

CaSe: 4:10-cv-01768-CE.] Doc. #: 8 Filed: 09/27/10 Page: 3 of 6 Page|D #: 60

on its face.”’ Ashcrofi,‘ V. Iqba], 129 S.Ct. 1937, 1949 (2009) (quoting Be]_l At]antjc
Corp. V. TWomb./y, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when
the plaintiff pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.” Id. (citation
omitted).

9. ln order to prove a claim for medical negligence under Missouri law, a
plaintiff must establish the following! “1) an act or omission of the defendant failed
to meet the required standard of care; 2) the defendant was negligent in the
performance of the act or omission; and 3) the act or omission caused the plaintiffs
injury." Montgomery V. Sout]i Colmty Radjologists, Inc., 168 S.W.Bd 685, 691 (Mo.
App. E.D. 2005) (citing Ec]iard V. Barnes'Jersh Hospjta], 98 S.W.Sd 558, 565 (l\/lo.
App. E.D. 2002)).

10. Plaintiffs Petition avers factual allegations sufficient to support a
claim of medical negligence against defendant Richard Bucholz, M.D. Specifically,
plaintiff has alleged that!

a. defendant is a physician employed by defendant Saint Louis
University and/or defendant Tenet Health System, SL, Inc. to
provide medical treatment to patients at St. Louis University
Hospital and is therefore engaged in the practice of medicine See,
Petition, 117.

b. at all times pertinent to the cause of action, defendant had an
agency relationship with defendants Saint Louis University and
defendant Tenet Health System, SL, Inc. See, Petition, 1[8.

c. prior to August 25, 2008, defendant accepted plaintiff as a patient,

performed diagnostic tests on him and recommended that he
undergo brain surgery. See, Petition, 1[10.

CaSe: 4:10-cv-01768-CE.] Doc. #: 8 Filed: 09/27/10 Page: 4 of 6 Page|D #: 61

d. on August 25, 2008, defendant performed a surgical procedure
described as a craniotomy and resection of mesial temporal lobe
tumor on plaintiff at Saint Louis University Hospital, during Which
plaintiff suffered a “stroke.” See, Petition, 1[‘|]11“12.

e. plaintiff would not have suffered the “stroke” but for the surgical
procedure performed on him by defendant at Saint Louis University
Hospital. See, Petition, 1113.

f. the “stroke” plaintiff suffered during the surgical procedure was
directly and proximately caused by defendant negligently and
carelessly! diagnosing plaintiff as having a brain tumor, when he
did not have one; recommending a surgical procedure to remove a
brain tumor when plaintiff did not have one; failing to conduct the
proper tests before recommending and performing the surgical
procedure on plaintiff; performing brain surgery on plaintiff when
defendant should have known it was unwarranted; performing
brain surgery on plaintiff that was unwarranted; performing brain
surgery on plaintiff; committing an assault and battery on plaintiff;
and causing, allowing and permitting plaintiff to suffer a “stroke”
while he Was in defendant’s care. See, Petition, 1114.

g. as a direct and proximate result of the carelessness and negligence
of defendant, plaintiff was caused to suffer a “stroke” and to become
totally disabled and handicapped See, Petition, 1115.
11. Accepting all of plaintiffs averments as true, plaintiffs Petition
clearly states a claim for relief.
12. Defendant Richard Bucholz, M.D. nevertheless argues that plaintiff
fails to state a claim for relief because defendant was a federal employee at the time
he rendered diagnostic and pre°operative medical care and treatment to plaintiff

13. However, defendant provides absolutely no support for these

allegations in his motion as required by Local Rule 7~4.01(A).

CaSe: 4:10-cv-01768-CE.] Doc. #: 8 Filed: 09/27/10 Page: 5 of 6 Page|D #: 62

14. Defendant’s motion improperly introduces unsupported facts outside of
the pleadings, and defendant has failed to provide this Court or plaintiff with any
evidence to support his claim that he was a federal employee at all relevant times.

15. Such unsupported allegations are grounds to deny the defendant’s
motion to dismiss, See, e.g., Jo}.mson V. C.EJ. Par_k, Inc., No. 4!05CV509, 2005 WL
3213905, at *2 (E.D. MO. Nov. 30, 2005).

16. Furthermore, the filing of defendant’s motion to dismiss is premature,
as no discovery has yet been conducted in this case. Accordingly, plaintiff has not
had the opportunity to discover the employment and agency status among and
between the defendants, and to discover the facts which would refute or support
defendant’s claim that he was a federal employee at the time he rendered medical
care and treatment to plaintiff

17. Because plaintiffs Petition sufficiently alleges a claim for relief against
defendant Richard Bucholz, M.D., because defendant has failed to provide any
evidence to support his allegations that he Was a federal employee, and because
plaintiff has not yet had the opportunity to conduct discovery in this case,
defendant’s motion to dismiss must be denied.

WHEREFORE, plaintiff respectfully requests this Court DENY defendant
Richard Bucholz, M.D.’s motion to dismiss and grant such other and further relief

as the Court deems fair and just under the circumstances

CaSe: 4:10-cv-01768-CE.] Doc. #: 8 Filed: 09/27/10 Page: 6 of 6 Page|D #: 63

PAUL J. PASSANANTE, P.C.
& ASSOCIATES

/s/ Dawn l\/I. Besserman

Paul J. Passanante, #4033
Dawn M. Besserman, #513874
Anna E. Bonacorsi, #5250917
At.torn sys for P]ajn tjfl‘s

1010 Market Street, Suite 1650
St. Louis, Missouri 63101
314/621'8884

314/621'8885 Fax
pjp@passanantelaw.com

dmb@p assanantelaw.com

aeb@passanantelaw.com

CERTIFICATE OF SERVICE

l, Dawn M. Besserman, attorney for Plaintiff Allen R. Caldwell, in the above-
entitled cause, hereby certify that on the 27th day of September, 2010, l
electronically filed the foregoing with the Clerk of the District Court, Eastern
Division, using the CM/ECF system, Which sent notification of such filing to the
followingf Stephen G. Reuter, Lashly & Baer, P.C., 714 Locust St., St. Louis, MO
63101, attorney for Defendants St. Louis University and Richard Bucholz, M.D.
(sreuter@lashlvbaer.con_i), by electronic mail.

/s/ Dawn l\/I. Besserman

